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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

IN RE: ALEX E. JONES                      §
                                          §   CASE NO. 22-33553 (CML)
                                          §
              Debtor.                     §   Chapter 7


David Wheeler, Francine Wheeler           §
Wheeler, Jacqueline Barden,               § Adversary Proc. No. 23-03037
Mark Barden, Nicole Hockley,              §
Ian Hockley, Jennifer Hensel,             §
Donna Soto, Carlee Soto-Parisi,           §
Carlos M. Soto, Jilian Soto               §
Marino, William Aldenberg,                §
William Sherlach, Robert                  §
Parker And Richard M. Coan,               §
As Chapter 7 Trustee for the              §
Estate of Erica Lafferty                  §
      Plaintiffs,                         §
                                          §
Alexander E. Jones and Free               §
Speech Systems, Llc                       §
      Defendants.                         §


Alex E. Jones, as debtor and as owner        §
and sole Manager of Free Speed Systems,      §
LLC                                          §
                                             §
              Plaintiffs                     §
vs.                                          § Adversary Pro. No. 24-03238
                                             §
Christopher Murray, as the Chapter 7         §
Trustee and Global Tetrahedron, LLC,         §
Mark Barden, Jacqueline Barden, Francine §
Wheeler, David Wheeler, Ian Hockley,         §
Nicole Hockley, Jennifer Hensel, William     §
Aldenberg, William Sherlach, Carlos M. Soto, §
Donna Soto, Jillian Soto-Marino, Carlee Soto §
Parisi, Robert Parker, and Erica Ash         §
                                             §
              Defendants                     §
______________________________________________________________________________


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    PLAINTIFFS’ TRO-RELATED REQUESTS, NOTIFICATION OF IMPORTANT
     INTERELATED MATTERS AND REQUESTS FOR CLARIFICATION AND
                  CONTINUANCE OF CERTAIN MATTERS

TO THE HONORABLE CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY JUDGE:

           Alex Jones (“Jones”) for himself and on behalf of Free Speech Systems, LLC (“FSS”)

(Jones and FSS are sometimes herein called the “Jones Parties”) by this filing (a) seek clarification

regarding pending matters, (b) notify the Court of pending events, and (c) request a continuance

of certain matters as set forth herein. In this filing, the hearing presently scheduled for Monday

November 25, 2024, is referred to as the “Monday Hearing.” To summarize this filing, the Jones

Parties:

              a. notify the Court that undersigned counsel will be making an appearance in both the
                 Adversary (23-03037) and the Bankruptcy (22-33553) as lead counsel for Alex
                 Jones, along with co-counsel Shelby A. Jordan;

              b. notify the Court that the undersigned on behalf of the Jones Parties intend to fully
                 participate in the Monday Hearing regarding the Court’s consideration of the
                 recently conducted "auction";

              c. request confirmation that their “Complaint and Emergency Application for
                 Temporary Restraining Order and Preliminary Injunction Pursuant to Bankruptcy
                 Rule 7065” (the “Sale TRO”) filed on Monday, November 18 [Adv. 24-03238, Dkt.
                 No. 1], which challenges the validity of the Trustees’ Sale and requests a temporary
                 restraining order and expedited discovery in connection with actions taken to
                 effectuate the Trustee’s sale, will also be heard at the Monday Hearing and if not,
                 then to obtain a hearing time on the requested TRO emergency relief;

              d. advise the Court that no later than two weeks from today (or December 4, 2024)
                 Mr. Jones will be filing his Motion to Reconsider the Court’s previous granting of
                 partial summary judgment [Adv. 23-03037, Dkt. No. 76] on the dischargeability of
                 the Connecticut Plaintiffs’ Connecticut Judgment (the “Jones Reconsideration
                 Motion”) as the Court has been led into error on it’s collateral estoppel rulings. The
                 soon-to-be-filed Motion to Reconsider will present the omitted law and facts this
                 Court was not advised of, including the clear requirements of the Connecticut
                 Supreme Court that “[a] party must receive one opportunity for appellate review
                 before it will be subject to the application of collateral estoppel.” State v. Charlotte
                 Hungerford Hosp., 308 Conn. 140, 146, 60 A.3d 946, 950 (2013). Such appellate
                 review has not occurred and for that reason alone, collateral estoppel does not apply.




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                Equally significant is the fact that this Court was not presented with the host of
                United States Supreme Court cases regarding Constitutional mandates that
                effectively preempt any state court rulings to the contrary. For example, as against
                a media defendant such as Mr. Jones, the Connecticut Plaintiffs were
                Constitutionally required to demonstrate by “clear and convincing evidence that
                [Alex Jones] the defendant acted with actual malice—that is with knowledge that
                the published material was false or with reckless disregard of whether it was false.”
                Berisha v. Lawson, 141 S. Ct. 2424, 2424 (2021) (emphasis added; internal
                citations; quotes omitted) (citing New York Times Co. v. Sullivan, 376 U. S. 254,
                280, 84 S. Ct. 710, 11 L. Ed. 2d 686 (1964)). The Connecticut state court orders to
                the contrary cannot supersede the US Supreme Court mandates.

                These and other Supreme Court Constitutional mandates will to be presented in
                Jones’s Reconsideration Motion and they will show that this Court was led into
                error in concluding collateral estoppel applied when it did not;

            e. obtain clarification and continuance in regards to the Connecticut Plaintiffs’ own
               Motion for Reconsideration of this Court’s Partial Summary Judgment [Adv. 23-
               03037, Dkt. No. 98], the Court’s docket reflects that at the Monday Hearing the
               Court may make an oral ruling but does not say about what. If the oral ruling is
               going to address Plaintiffs’ Motion to Reconsider, the Jones Parties request the
               Court delay or continue that ruling until it has had the opportunity to review the
               Jones Reconsideration Motion, as the Supreme Court authority will address
               important Constitutional limitations that are placed on the award of punitive
               damages, very relevant to the Plaintiffs’ Motion to reconsider. Thus, the Jones
               Parties request a brief continuance so that both motions for reconsideration can be
               addressed at the same time;

            f. advise the Court of pending overlapping actions taken in the Western District of
               Texas, likely to result in the transfer to this Court of a recent case and issues pending
               in the Western District which will have an effect on other matters presently pending
               in this Court; and

            g. request a status conference to address all of the above.

The Jones Parties will address each of the above points.

                                   ARGUMENTS AND AUTHORTIES

       A.       DESIGNATION OF NEW LEAD COUNSEL

       1.       At the request of Alex Jones, Messers. Shelby Jordan and Ben Broocks will be

making appearances as new lead counsel for Alex Jones in both the Adversary (23-03037) and the

Bankruptcy (22-33553). Both counsel are based in Austin, Texas.



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         B.       NOTIFICATION OF PARTICIPATION BY THE JONES PARTIES IN THE MONDAY
                  HEARING

         2.       On Monday November 18, 2024, the Jones Parties filed their “Complaint and

Verified Emergency Application for Temporary Restraining Order and Preliminary Injunction

Pursuant to Bankruptcy Rule 7065” (the “Sale TRO”). The Sale TRO challenges, among other

things, the Trustee’s determination that Global Tetrahedron LLC (“Tetrahedron”) and the sixteen

Connecticut Plaintiffs (together, the “Joint Bidders”) collectively were the “successful bidder.” In

the Sale TRO, the Jones Parties urge the Joint Bidders are disqualified from the Auction which

was the subject of this Court’s Order of September 25, 2024. [Adv. 24-03238, Dkt. No. 1] and First

United American Companies (“First United”) should have been the successful bidder.

         3.       The Sale TRO also squarely addresses the interrelation of the bid of the Joint

Bidders and the Connecticut Judgment currently on appeal, which judgment plays a crucial role in

the deeply flawed “value analysis” the Trustee and Joint Bidders employed to arrive at the absurd

conclusion that the Joint Bidder’s bid of $1,750,000 bid is actually higher than the $3,500,000 bid

of First United. In addition, the Jones Parties’ attack the Trustee’s illicit sale to the Joint Bidders

of the Jones IP Rights and Jones Persona.1

         4.       The Jones Parties intend to demonstrate that a bankruptcy trustee is a conservator

of the estate and must, to the extent possible, be risk averse and decline the temptation of

jeopardizing virtually assured benefits by supporting a bid that exposes the estate to a much greater

risk of, among other things, a failed closing and the associated chance of being left with a devalued


1
  Alex Jones’s intellectual property rights referenced herein consist of and are defined to mean (i) internet domain
names containing in whole or in part, the name Jones, “Alex Jones,” ‘Alex E. Jones,” (ii) Jones’s image or likeness,
(iii) Jones’s unique voice (iv) other features of Jones which are unique, defining and associated with him (which are
called the “Jones Persona”), and (v) the program and broadcasting content Jones has made or which he has produced
over the years for all of his media programs and outlets (which are herein called along with the Jones Persona, the
“Jones IP Rights”). The Jones IP Rights were purportedly included in the Trustee’s sale notwithstanding this Court’s
instructions that any disputed assets would first be brought to the Court for a resolution of the dispute. This instruction
and caution was wholly ignored as the Trustee simply listed for sale assets the Trustee marked “disputed.”


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asset. The Jones Parties will demonstrate that when a Trustee strays from these requirements as

has happened here, it is proper for the Court to interfere with the trustee's judgment. Id. (citing G-

K Dev. Co. v. Broadmoor Place Invs., L.P. (In re Broadmoor Place Invs., L.P.), 994 F.2d 744, 745

(10th Cir. 1993) (approving the sale to an alternate bidder that was not recommended by the

trustee)).

        5.     At the Monday Hearing, the Jones Parties thus intend to present their arguments on

the Trustee’s sale on these and other issues.

        C.     THE JONES PARTIES’ REQUEST TO BE HEARD ON THEIR EMERGENCY REQUESTS
               FOR TRO AND ACCELERATED DISCOVERY

        6.     The Sale TRO asks this Court (a) to schedule and conduct a hearing for issuance of

temporary restraining orders; (b) order expedited discovery; and (c) to schedule and conduct a

preliminary injunction hearing. The Sale TRO raises crucial misconduct that occurred at and

around the time of the Trustee’s Sale and is likely to reoccur unless enjoined. Among other things,

in connection with that sale, in a coordinated effort with the Joint Bidders, the Trustee came to

Austin and:

        a. took the Alex Jones Show and InfoWars programing off the air resulting in huge
           financial losses, which has now been partially restored but could happen again;

        b. fired employees, expressing a concern of employee theft (later tempered as to layoffs)
           which could happen again;

        c. mirrored copies of computer hard drives and gave those to the Joint Bidders the day of
           they announced “winning bidder,” who still have them and are believed to be using
           them, some of which may contain privileged attorney client communications (in fact a
           password-accessed hack into related computers has occurred believed to be the result
           of the Trustee’s mirroring of the computers and furnishing IP passwords), the use of
           which needs to be restrained;

        d. permitted Tetrahedron to in some manner re-design or re-direct the InfoWars website
           to its own, with its continuous touting that Tetrahedron was the new owner of InfoWars
           which could happen again; and




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       e. shut down the revenue stream of FSS’s inventory of perishable consumer products sold,
          which has now been partially restored, but could happen again.

       7.        The actions the Trustee and Joint Bidders have taken and the damages the Jones

Parties have sustained and will continue to sustain must not be repeated and thus must be (i)

temporarily restrained, (ii) discovery allowed to determine what was taken and its current state and

location, and (iii) enjoined through preliminary injunction. Expedited discovery is required so the

Court and parties can be fully informed. The Jones Parties request confirmation that these matters

will be addressed at the Monday Hearing and if not then, that the Court will set a time for their

consideration.

       D.        JONES’ MOTIONS FOR RECONSIDERATION OF THIS COURT’S ORDER OF PARTIAL
                 SUMMARY JUDGMENT ARE SOON TO BE FILED

       8.        The Connecticut Plaintiffs filed a Motion for Summary Judgment generally on the

non-dischargability of the Connecticut Judgment’s award of compensatory and punitive damages.

[Adv. 23-03037, Dkt. No. 57]. This Court granted partial Summary Judgment, again generally

holding that the unprecedented compensatory damage award given by the Connecticut trial court

of $1,000,000,000 was essentially immune from review because of collateral estoppel. As to the

award of approximately $500,000,000 in punitive damages, the Court denied the Connecticut

Plaintiffs requested MSJ that that portion was non-dischargeable and the Connecticut Plaintiffs

have requested this Court reconsider the denial of that decision [Adv. 23-03037, Dkt No. 98].

       9.        New lead counsel intends to shortly file Jones’ motion to reconsider the Court’s

granting of partial summary judgment on the dischargeability of the compensatory award to the

Connecticut Plaintiffs which will generally present three overlooked bodies of law that

demonstrate this Court was led to err in so ruling.




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Unpresented Connecticut Authority Requiring an Appeal Before Collateral Estoppel Applies

       10.     First, the new lead counsel’s anticipated motion to reconsider will present that under

Connecticut law -- assuming that states’ collateral estoppel law applies – the Connecticut Judgment

cannot collaterally estop this Court as the Connecticut Judgment has not been subject to appellate

review. The Connecticut Supreme Court has held that “[a] party must receive one opportunity for

appellate review before it will be subject to the application of collateral estoppel.” State v.

Charlotte Hungerford Hosp., 308 Conn. 140, 146, 60 A.3d 946, 950 (2013). The Connecticut

Plaintiffs surely know this requirement of Connecticut law and also know appellate review has not

occurred. Yet this Court was not advised of this and thus led into error in ruling that the

Connecticut Judgment had collateral estoppel effect.

Pre-empting US Supreme Court Constitutional Authority Precludes Collateral Estoppel

       11.     Second, there are a host of United States Supreme Court mandates that apply when:

(a) a media defendant, which Mr. Jones clearly is, is sued as he was in Connecticut; (b) the suit

covers matters of public concern, which the Sandy Hook tragedy and ensuing national pushes for

gun control legislation clearly are; and (c) the Connecticut Plaintiffs have voluntarily thrust

themselves into those public controversies and thus become public figures, which the Connecticut

Plaintiffs surely did as almost immediately after the tragedy they began using the tragedy as a

platform from which they publicly urged gun control legislation and endorsed and campaigned for

gun control political candidates at every level of state and federal government. In fact, Connecticut

Plaintiff Erica Lafferty (now Erica Ash) gave an approximately five (5) minute speech at the 2016

Democratic National Convention introducing her friend Hillary Clinton whom she supported

because of Secretary Clinton’s positions on gun control.

       12.     Among the many ignored Constitutional mandates is that the Connecticut Plaintiffs

were Constitutionally required to demonstrate by “clear and convincing evidence that [Mr. Jones]

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acted with actual malice—that is, with knowledge that the published material was false or with

reckless disregard of whether it was false.” Berisha v. Lawson, 141 S. Ct. 2424, 2424 (2021)

(emphasis added; internal citations; quotes omitted) (citing New York Times Co. v. Sullivan, 376

U. S. 254, 280, 84 S. Ct. 710, 11 L. Ed. 2d 686 (1964)). This Constitutional requirement effectively

preempts any state law to the contrary and yet was tossed into the waste bin by the Connecticut

state court’s default judgment ruling. Neither have they been presented to or considered by this

Court. All of these will be addressed in the soon-to-be-filed Jones Motion to Reconsider.

Other Constitutional Federal Requirements Were Not Addressed

        13.    Jones’s soon-to-be-filed Motion to Reconsider will also address binding federal

authority not presented to this Court on other issues such as the established principal that this Court

is fully empowered to review state court cases “…where state procedural law was inadequate to

allow full litigation of a constitutional claim, and where state procedural law, though adequate in

theory, was inadequate in practice.” Allen v. McCurry, 449 U.S. 90, 100-03, 101 S. Ct. 411, 418-

19 (1980). The Jones Parties anticipate their Motion to Reconsider will be filed by December 4,

2024.

        E.     CONSIDERATION OF THE CONNECTICUT PLAINTIFFS’ MOTION TO RECONSIDER
               SHOULD BE CONTINUED SO THAT IT CAN BE CONSIDERED TOGETHER WITH
               THE MOTION TO RECONSIDER TO BE FILED BY THE JONES PARTIES

        14.    The Connecticut Plaintiffs have filed their own Motion for Reconsideration of this

Court’s partial summary judgment regarding punitive damages [Adv. 23-03037, Dkt. No. 98].

Their motion essentially asks the Court to reconsider its denial of dischargeability on the

$500,000,000 punitive damage award.

        15.    Presently the Court’s docket reflects that at the Monday Hearing an “Oral Ruling”

in Adversary No. 23-03037 is set to be announced. It is unclear whether this docket notation means

the Court will announce its ruling on the Connecticut Plaintiffs’ motion for reconsideration. If so,

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the Jones Parties request that any oral ruling on that be delayed until Jones’s Motion to Reconsider

is filed as Jones’s Motion to Reconsider will raise issues germane to the award of punitive damages

and thus relate to the Connecticut Plaintiffs’ motion to reconsider. For example, Jones’s Motion to

Reconsider will demonstrate that the Supreme Court has clearly held that “deeply rooted in the

common-law rule, predating the First Amendment, [is the requirement for] a showing of malice

on the part of the defendant [by] plaintiffs to recover punitive or enhanced damages.” Herbert v.

Lando, 441 U.S. 153, 161-62, 99 S. Ct. 1635, 1641 (1979). A showing of malice must, in turn, be

made by “clear and convincing” evidence: “The Court has also determined that for … public

figures, a showing of New York Times malice is subject to a clear and convincing standard of

proof.” Milkovich v. Lorain Journal Co., 497 U.S. 1, 15, 110 S. Ct. 2695, 2703-04 (1990). Nothing

close to this has been done and these and other points to be made in the Jones Motion to Reconsider

doom any award of punitive damages and certainly doom the Connecticut Plaintiffs’ efforts to

avoid their discharge. It would aid in judicial economy and efficiency for the Court to continue its

determination of the Connecticut Plaintiffs’ Motion to Reconsider until receipt of the briefing of

the soon-to-be-filed Jones Motion to Reconsider.

       F.      OVERLAPPING MATTERS OCCURRING IN THE WESTERN DISTRICT OF TEXAS
               LIKELY SOON TO BE TRANSFERRED TO THIS COURT

       16.     Recently the Connecticut Plaintiffs filed in Travis County District Court (Austin,

Texas) papers to domesticate in Texas the Connecticut Judgment which is currently on appeal in

Connecticut. They then filed state court actions for turnover and seeking a receiver, representing

to the Texas State District Court that this Court had by “final order” found the actual damages

award in the Connecticut Judgment were non-dischargeable. The Jones Parties removed these

matters to the Western District of Texas and filed an Answer, Affirmative Defenses and

Counterclaims. Erica Lafferty, et al Plaintiffs (Judgment Creditors) vs Alexander E. Jones, et al,



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Civil Action No. 1:24-cv-1198 in the United States District Court Western District (Austin

Division). In addition, the Jones Parties filed a Motion to Transfer the Venue of that case including

the Counterclaims to this Court as this Court has the “first filed” case of related cases (i.e., the

Dischargeability Adversary Proceeding2) making this Court the “Home” Court. The Connecticut

Plaintiffs have filed a Motion to Remand their collection case to state court but may have

tentatively agreed to the venue transfer. In either event, the Jones Parties are quite confident that

Fifth Circuit authority mandates that the venue issue be considered by the Western District of Texas

before the remand and the venue transfer motion must be granted, transferring to this Court the

Connecticut Plaintiffs’ collection efforts and the Counterclaims asserted against them for violating

Alex Jones’s Constitutional rights. Concierge Auctions, L.L.C. v. ICB Props. of Mia., L.L.C., 2023

U.S. App. LEXIS 20513, at *3-4 (5th Cir. 2023).

        G.       STATUS CONFERENCE REQUESTED

        17.      Given the overlapping nature of the above matters, a status conference would be in

order to coordinate and is requested.

Dated: November 20, 2024
                                                      /s/ Shelby A. Jordan
                                                     SHELBY A. JORDAN
                                                     State Bar No. 11016700
                                                     S.D. No. 2195
                                                     ANTONIO ORTIZ
                                                     State Bar No. 24074839
                                                     S.D. No. 1127322
                                                     Jordan & Ortiz, P.C.
                                                     500 North Shoreline Blvd., Suite 804
                                                     Corpus Christi, TX 78401
                                                     Telephone: (361) 884-5678
                                                     Facsimile: (361) 888-5555
                                                     Email: sjordan@jhwclaw.com
                                                             aortiz@jhwclaw.com

2
          Equally clear is that the Connecticut Plaintiffs initiated this dischargeability adversary regarding their
unconstitutional Connecticut Judgment before they filed and began wrongfully acting on their state court collection
efforts removed to federal court, that the case will be transferred to this Court. Id.


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                                             Copy to: cmadden@jhwclaw.com
                                             CO-COUNSEL FOR ALEX JONES

                                             /s/ Ben Broocks
                                             Ben C Broocks
                                             State Bar No. 03058800
                                             Federal Bar No. 94507
                                             William A. Broocks
                                             St. Bar No. 24107577
                                             Federal Bar No. 3759653
                                             BROOCKS LAW FIRM PLLC
                                             248 Addie Roy Road, Suite B301
                                             Austin, Texas 78746
                                             Phone: (512) 201-2000
                                             Fax: (512) 201-2032
                                             Email: bbroocks@broockslawfirm.com
                                             CO-COUNSEL FOR ALEX JONES

                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing pleading was served upon all parties
registered to receive notices via the Court’s ECF noticing system on November 20, 2024 as well
as the following parties.

Paula Brillson
General Counsel
Global Tetrahedron, LLC
Email: pbrillson@theonion.com
General Counsel for Global Tetrahedron, LLC

John R. Ashmead
Seward & Kissel LLP
One Battery Park Plaza
New York, NY 10004
Email: ashmead@sewkis.com
       matott@sewkis.com

Robert J. Gayda
Seward & Kissel LLP
One Battery Park Plaza
New York, NY 10004
Email: gayda@sewkis.com
Counsel for Global Tetrahedron, LLC
                                             /s/ Shelby A. Jordan
                                             Shelby A. Jordan



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